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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION



 DISABILITY RIGHTS MISSISSIPPI,
 LEAGUE OF WOMEN VOTERS OF
 MISSISSIPPI, WILLIAM EARL WHITLEY,
 MAMIE CUNNINGHAM, and YVONNE
 GUNN,                                                                        1
                                 Plaintiffs,

                        v.                               Civil Action No.

 LYNN FITCH, in her official capacity as
 Attorney General of the State of Mississippi;
 MICHAEL D. WATSON, JR., in his official
 capacity as Secretary of State of Mississippi;
 GERALD A. MUMFORD, in his official
 capacity as Hinds County Attorney; and
 ELIZABETH AUSBERN, in her official
 capacity as Chickasaw County Attorney;

                                 Defendants.



                       DECLARATION OF MAMIE CUNNINGHAM

       Pursuant to 28 U.S.C. § 1746, I, Mamie Cunningham, declare as follows:

1.     I am over the age of eighteen, and I am competent to make this declaration. I provide this

       declaration based upon my personal knowledge. I would testify to the facts in this

       declaration under oath if called upon to do so.

2.     I am a Plaintiff in the above-captioned case.

3.     I am a registered voter, and I have never been convicted of a crime.




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4.   I am 83 years old, an African-American woman, and a lifelong resident of Okolona, MS.

     I am a retired public-school teacher, with a Master’s degree in education from Mississippi

     State.

5.   Ever since I was 19 years old, I have been active in registering voters and advocating for

     civil rights in Mississippi. When I was a college student at Rust College in 1964, I

     worked with Stokely Carmichael and other Freedom Riders who came to campus to

     organize voter registration efforts. That same year, I rode with Fannie Lou Hamer, Ed

     King, Aaron Henry, and other members of the Freedom Democratic Party to attend and

     later protest at the National Democratic Convention, which had seated an all-White, all-

     male delegation (of over 40 members) from Mississippi.

6.   After returning to Mississippi from the convention, I continued my efforts to organize

     and register voters. This work is important to me because I recognize how difficult it is

     to vote in Mississippi, and our politics are broken because not enough people are able to

     access the right to vote.

7.   Since approximately 2000, I (and later joined by my friend, Yvonne Gunn) have assisted

     members of our local community, who suffer from blindness, immobility, illiteracy, and

     old age, with absentee voting in Mississippi. Many of those voters live alone (or their

     household members are unable to assist due to impairments of their own) and have

     nobody else who can assist them. They trust us with their ballots, because we have

     known them almost our entire lives. I am widely known in my community as someone

     who is knowledgeable about elections voting, and people frequently contact me for

     advice and assistance.

8.   I estimate that I assist approximately ten voters in Chickasaw County each year.



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9.    The assistance I provide occurs over several weeks during the primary and again during

      the general election. The amount of help I provide depends on the nature and extent of

      the disability that each voter has, but in general, I begin by helping the voter call the

      circuit clerk to request an absentee ballot application and ballot. Once the ballot arrives, I

      visit the voter in their home, because they often are unable to leave their house due to a

      disability. If necessary, I read the candidates and offices to the voter, and they indicate

      who they want to vote for. I help them fill out the ballot and make sure that they sign in

      the right places. I help them seal the envelope and make sure they remember to sign

      across the flap in the right location. I make sure that the envelope has the correct

      postage, and I (physically) place the completed ballot in the mailbox on the voter’s

      behalf.

10.   I believe that, without my assistance, many of the voters I assist otherwise would not be

      able to cast their ballot.

11.   For instance, I have helped an 86-year-old woman, Mae, vote, because she lives alone

      and is not able to physically leave her house. Mae cannot move without a walker or

      wheelchair, but there is no path or porch leading to her house that could accommodate a

      walker or wheelchair. I personally have fallen while trying to enter her home due to the

      lack of a walkable path, and I do not believe that Mae is able to leave her house to

      retrieve or deliver a ballot, let alone vote in person. Her mailbox is across the street from

      her home, and she needs help to retrieve her mail due to her disability. Mae lives alone

      and does not have a caregiver; she has one son, Arthur, who recently had a stroke and is

      now in a nursing home; she has another son who lacks the mental capacity to help her;

      and she has a daughter who does not communicate with her. I most recently helped Mae



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      vote in the 2022 election. She trusts me with her ballot, and she does not have a family

      member or a household member or a caregiver who could help her.

12.   I, with Mae’s assistance, have previously helped her son Arthur vote when he was living

      with her. I intend to continue helping Arthur vote now that he is at the nursing home.

      Arthur has been physically disabled for nearly as long as I have known him, but he

      suffered a stroke last year, and he now has even greater impairments than before. He is

      not able to write or hold a pen, and he would not be able to request, sign, or deliver an

      absentee ballot without assistance. Arthur trusts Mae and me with his ballot, and he does

      not have the same relationship with nursing home staff, even if the staff were willing and

      legally permitted to assist him with his ballot.

13.   I have also assisted a blind woman, Elsie, and her recently deceased husband, who was

      illiterate. Elsie lives a few blocks away from Mae, and I also believe that neither she nor

      her husband would have voted but for my assistance. Elsie, due to her visual impairment,

      would not be able to dial the circuit clerk’s office without my assistance. Nor could she

      read the ballot without my assistance. Elsie told me recently that, if I do not help her vote

      this year, she would not vote.

14.   Elsie and I are distant relatives. To the best of my knowledge, I believe my grandfather

      and Elsie’s grandfather were half-brothers, which would make us half second-cousins. I

      am not sure if I would qualify as Elsie’s “family member” under S.B. 2358, which does

      not make clear whether it refers to the nuclear family or something else.

15.   I have friends in other parts of Mississippi who engage in similar efforts to help people

      vote absentee.




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16.   If S.B. 2358 were allowed to take effect, I could not legally help people like Mae and

      Arthur, because I am not their family member, household member, or caregiver. While I

      am a distant relative of Elsie’s, I still fear prosecution if I were to help her vote, because

      S.B. 2358 does not define “family member,” and I do not reside with her or take care of

      her.

17.   I believe that several of the voters I have assisted over the years would not have been able

      to vote if S.B. 2358 had been in effect.

18.   I also believe that, if I do not continue helping voters in my community cast an absentee

      ballot this year because S.B. 2358 goes into effect, several of them would not be able to

      vote.

19.   Voting in Mississippi is difficult due to various requirements and restrictions that have

      been put into place, which makes restrictions on voter assistance like S.B. 2358

      particularly harmful. Without assistance, it may be nearly impossible for voters with

      disabilities from complying with all of those requirements. Mississippi does not have

      mail voting and instead requires voters to affirmatively request an absentee ballot

      application, which then has to be delivered in the mail, and voters must provide a reason

      for voting absentee. Because of slow mail service in rural communities like mine, mail

      often takes a week or more to arrive, and it makes the timeframe for requesting and

      submitting absentee ballots particularly challenging. Requirements such as signing on

      the envelope flap are easy to overlook, and voters, including those I assist, may forget to

      do so unless they are reminded. Furthermore, I have observed the counting of absentee

      ballots, and I know that signatures are heavily scrutinized and must meet precise

      requirements; ballots may get rejected if the signature does not cross the flap, which may



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       happen because the signature line is not completely aligned with the envelope flap and

       some signatures, depending on their placement, may be too short or small to contact the

       flap. Voting in person, even if possible for voters who are able to leave their house, is

       difficult, particularly in rural areas, because there is no early voting in Mississippi.

20.    S.B. 2358 is also likely to permanently disenfranchise some of the voters I assist. If a

       voter misses an election because they could not obtain assistance in time, Mississippi’s

       new voter purge law, H.B. 1310, may cause them to lose their voter registration. Based

       on my decades of experience in voter registration, reaching and re-registering voters who

       have disabilities and who live alone would be extremely challenging.

21.    Helping other voters is important to me, because I have fought for voting and other civil

       rights my entire adult life. It is especially critical to provide assistance to voters today,

       because the state continues to erect new barriers to voting, which disproportionately

       disenfranchise voters who are illiterate, blind, or immobile or who suffer from any other

       challenge or disability.

22.    I fear that I would be subject to criminal prosecution and punishment for assisting voters

       if S.B. 2358 takes effect.

I declare under penalty of perjury that the foregoing is true and correct.



Executed this 30 day of May 2023.



                                                                       Mamie Cunningham (May 30, 2023 20:30 EDT)


                                                                               Mamie Cunningham




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